441 F.2d 659
    STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, aCorporation, Appellant,v.Wendell B. FIELDS, Administrator of the Estate of William B.Fields, Deceased, Lorraine Jones, Anna Mae Jones,Lorraine Jones, Sr. and Raymah L.Alkire, Appellees.STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, aCorporation, Appellee,v.Wendell B. FIELDS, Administrator of the Estate of William B.Fields, Deceased, Lorraine Jones, Anna Mae Jones,Kathy Marlene Jones and Raymah L.Alkire, Appellants.
    Nos. 20660, 20679.
    United States Court of Appeals, Eighth Circuit.
    March 19, 1971.
    
      Eugene E. Andereck, Pickett, Andereck, Hauck &amp; Sharp, Trenton, Mo., for State Farm Mut. Automobile Ins. Co.
      Stephen J. Millett, James S. Millett, Kingston, Mo., for Wendell B. Fields, etc.
      Before LAY, HEANEY and BRIGHT, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal from a declaratory judgment rendered against an insurance company declaring coverage under an oral binder agreement to furnish liability insurance on an automobile owned by William B. Fields, a minor, now deceased.  The insured and other appellees cross-appeal from the district court's finding that the maximum amount of insurance in question was $10,000 for the payment of bodily injury to one person and $20,000 for all injuries arising out of the same accident.
    
    
      2
      The facts and law are fully set forth in the district court's memorandum opinion, 325 F.Supp. 1135.  We have fully reviewed the evidence and the case law applicable.  There exists no showing that the findings of fact of the district court are clearly erroneous.  Nor do we agree that the district court has misapplied Missouri law.  On the basis of the district court's opinion we affirm the judgment rendered.  The appellant shall pay all costs except one- third of the total costs incurred by the appellees in printing their brief.
    
    
      3
      Judgment affirmed.
    
    